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                             UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


  IN RE DMCA § 512(H) SUBPOENA TO                   Case No. 20-mc-80214-VC
  TWITTER, INC.

                                                    ORDER GRANTING MOTION TO
                                                    QUASH; DENYING MOTION TO
                                                    COMPEL
                                                    Re: Dkt. Nos. 5, 10, 22


       In a series of six tweets accompanied by photos, an anonymous Twitter user who goes by

@CallMeMoneyBags criticized Brian Sheth, a private-equity billionaire. Within a few weeks of

the postings, a mysterious entity called Bayside Advisory LLC registered copyrights in the

photos, petitioned Twitter to take them down, and served a subpoena on Twitter for information

identifying the person behind the @CallMeMoneyBags account. Twitter has moved to quash the
subpoena, arguing that revealing the user’s identity would violate his First Amendment rights.

Because Bayside has not made out a prima facie case of copyright infringement, and for the

independent reason that the user’s constitutional interest in anonymity outweighs Bayside’s

expressed interest in his identity (at least on this record), the subpoena must be quashed.

                                                     I

       @CallMeMoneyBags (let’s call him MoneyBags) is an anonymous Twitter user.

Although his account currently boasts over sixteen thousand followers, at the time of the events
leading to this dispute his following was considerably more modest, hovering between 350 and
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400. Much of his publicly viewable content consists of criticism of wealthy people, particularly

those who work in tech, finance, or politics (such as Jeff Bezos, Elon Musk, and Nancy Pelosi).

          In late October 2020, MoneyBags turned his attention to Brian Sheth, a private equity

billionaire. Over ten days, MoneyBags tweeted about Sheth six times, each time commenting on

Sheth’s wealth and alleged lifestyle. One tweet, for example, reads: “Brian Sheth has upgraded

in his personal life. The only thing better than having a wife . . . is having a hot young

girlfriend.” The tweet was accompanied by hashtags including “#FilthyRich” and “#BabeAlert”

and included a photograph of a woman in a bikini and high heels. The other tweets were similar,

each containing a photo of a woman and many alluding to an extramarital affair between her and

Sheth.1

          On October 29, just days after this string of tweets, an entity called Bayside Advisory

LLC contacted Twitter, asserting that it had copyright ownership in the six photos and

demanding that they be taken down. Four days later, Bayside registered its copyrights. Twitter

ultimately took down the challenged photos (but left the text of the tweets in place). Bayside then

came to court and obtained a subpoena requiring Twitter to provide information identifying the

person behind MoneyBags’s façade. Twitter objected, arguing that doing so would violate

MoneyBags’s First Amendment rights. Eventually, Twitter filed a motion to quash the subpoena

and Bayside responded with a motion to compel a response to it.
          The case was originally assigned to Magistrate Judge Donna Ryu, who issued an order

offering MoneyBags an opportunity to file evidence in support of Twitter’s motion to quash.

Judge Ryu ordered Twitter to serve a copy of her order and all relevant briefing on the email

address associated with MoneyBags’s Twitter account and gave MoneyBags permission to

appear anonymously. MoneyBags did not respond. Judge Ryu then denied the motion to quash

1
  October 19: “The new Mrs. Brian Sheth at the top of Beverly Hills.” October 20: “Life is good
when you are Brian Sheth. #NoTax . . . #Babes #PrivateJet.” October 21: “Brian Sheth is the best
investor in private equity. This is how he spends his money. I would say this is a good
investment!” October 22: “Good morning from Mrs. Brian Sheth #2. Life is good when you’re a
44-year old private equity billionaire. . . . #Billionaire #Upgrade #Sexy.” October 28: “Brian
Sheth is the King of Private Equity. . . . #Babes #LadiesMan.”


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and granted the motion to compel, noting that the court “lack[ed] a well-developed record” on

which to find that MoneyBags was innocent of copyright infringement or to balance the

competing interests of the parties involved. Twitter challenges that ruling here.

                                                      II

       Normally, a motion to quash involves a subpoena for discovery connected to a pending

lawsuit. But this case is different. Bayside requested a subpoena under the Digital Millennium

Copyright Act, which permits copyright owners to obtain subpoenas for information identifying

alleged copyright infringers independent of any pre-existing lawsuit. 17 U.S.C. § 512(h). In this

context, “the subpoena is its own civil case, and the motion to quash is dispositive of the sole

issue presented in the case—whether the subpoena should be enforced or not.” In re DMCA

Subpoena to Reddit, Inc., 441 F. Supp. 3d 875, 880 (N.D. Cal. 2020). Because this is a

dispositive motion and the parties did not consent to magistrate judge jurisdiction, the Court

considers the motion to quash de novo.2

                                                      III

       “[A]n author’s decision to remain anonymous, like other decisions concerning omissions

or additions to the contents of a publication, is an aspect of the freedom of speech protected by

the First Amendment.” McIntyre v. Ohio Elections Commission, 514 U.S. 334, 342 (1995). This

protection applies with equal force to online speech. “As with other forms of expression, the
ability to speak anonymously on the Internet promotes the robust exchange of ideas and allows

individuals to express themselves freely without ‘fear of economic or official retaliation . . . [or]


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  Bayside argues that Twitter’s motion to quash must be denied because it was filed too late.
Under the Federal Rules, a motion to quash must be “timely” filed. Fed. R. Civ. P. 45(d)(3)(A).
“Courts generally agree that a motion to quash under Rule 45 is timely if made before the date
specified for compliance with the subpoena.” Handloser v. HCL America, Inc., 2020 WL
4700989, at *4 (N.D. Cal. Aug. 13, 2020). But where (as here) a subpoena recipient moves to
quash after lodging a written objection to the subpoena, the motion to quash is timely so long as
it is filed within a reasonable time after the conclusion of informal efforts to resolve the
objections. See Friedman v. Old Republic Home Protection Co., Inc., 2014 WL 12845131, at *2
(C.D. Cal. June 24, 2014) (“It is not appropriate . . . to rob [a party] of the opportunity to move to
quash the subpoena because its good faith efforts to resolve the matter outside of Court made its
request untimely under some decisions interpreting Rule 45.”).


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concern about social ostracism.’” In re Anonymous Online Speakers, 661 F.3d 1168, 1173 (9th

Cir. 2011) (alterations in original) (quoting McIntyre, 514 U.S. at 341–42). When adjudicating

discovery requests that would unmask an anonymous speaker, then, courts must consider the

First Amendment implications of disclosure—just as they would when adjudicating any other

discovery request that risks infringing First Amendment rights.

       Perry v. Schwarzenegger offers a roadmap for how this inquiry should play out. 591 F.3d

1147 (9th Cir. 2010); see In re Anonymous Online Speakers, 661 F.3d at 1174. In Perry, the

Ninth Circuit reviewed a district court’s decision requiring the proponents of a state ballot

proposition to turn over internal communications relating to their campaign strategy. Perry, 591

F.3d at 1152. Upon recognizing the First Amendment interests at stake, the court balanced the

plaintiffs’ interest in the disclosures against the constitutional burden that disclosure would

impose on the defendants. Id. at 1162–65. The court issued a writ of mandamus vacating the

district court’s discovery order after finding that “discovery would likely have a chilling effect

on political association,” while the plaintiffs “ha[d] not shown a sufficient need for the

information.” Id. at 1165.

       Operationally, the inquiry consists of two steps. First, the party seeking the disclosure

must demonstrate a prima facie case on the merits of its underlying claim. Second, the court

balances the need for the discovery against the First Amendment interest at stake. This resembles
the analysis courts around the country have employed when adjudicating motions that would

result in the unmasking of anonymous speakers. See, e.g., Dendrite International, Inc. v. Doe No.

3, 775 A.2d 756, 760–61 (N.J. Super. Ct. App. Div. 2001); Highfields Capital Management, L.P.

v. Doe, 385 F. Supp. 2d 969, 974–75 (N.D. Cal. 2005); see also Brief of Public Citizen as

Amicus Curiae in Support of Neither Party, Dkt. No. 39-1, at 14–15. Thus, when adjudicating a

subpoena or other request for compelled disclosure that would reveal the identity of an

anonymous speaker, a court should (1) notify the speaker and provide them with an opportunity

to (anonymously) defend their anonymity; (2) require the party seeking disclosure to make a
prima facie showing on the merits of their claim; and (3) balance the equities, weighing the


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potential harm to the party seeking disclosure against the speaker’s interest in anonymity, in light

of the strength of the underlying claim.

                                                 IV

       Bayside argues that three aspects of this case distinguish it from other motions in which a

party seeks to unmask an anonymous speaker, making the aforementioned test inapplicable: (1)

Bayside’s subpoena arises under the Digital Millennium Copyright Act (DMCA), which

provides its own procedures through which copyright holders can subpoena internet service

providers; (2) the underlying dispute is a copyright claim, and copyright law has some First

Amendment protection “built in”; and (3) the speaker has not shown up, despite an invitation to

do so anonymously. None of these distinctions support application of a different test.

                                                 A

       The DMCA provides a streamlined procedure through which copyright holders may

subpoena internet service providers (like Twitter) for information identifying an alleged

copyright infringer. See 17 U.S.C. § 512(h). As discussed above, the DMCA allows copyright

holders to request a subpoena directly, outside the confines of a lawsuit. The statute requires

prompt compliance by the service provider: “Upon receipt of the issued subpoena . . . the service

provider shall expeditiously disclose” the required information to the copyright owner,

“notwithstanding any other provision of law.” § 512(h)(5). Bayside argues that this restriction
divests the court of authority to consider the merits of the copyright claim or issues of First

Amendment privilege when faced with a motion to compel or quash a DMCA subpoena.

       Bayside’s reading of the DMCA raises serious constitutional concerns. After all, it is not

enough to say that a speaker could assert their right to anonymity after their identity has been

revealed; at that point, the damage will have been done. Fortunately, the statute does not compel

(or permit) this result. Section 512(h) provides that “the procedure for issuance and delivery of

the subpoena, and the remedies for noncompliance with the subpoena, shall be governed to the

greatest extent practicable by those provisions of the Federal Rules of Civil Procedure governing
the issuance, service, and enforcement of a subpoena duces tecum.” § 512(h)(6). This provision


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incorporates Federal Rule 45, under which a court must “quash or modify” a subpoena that

“requires disclosure of privileged or other protected matter.” Fed. R. Civ. P. 45(d)(3)(A)(iii). A

recipient of a DMCA subpoena may therefore move to quash on the basis that the subpoena

would require disclosure of material protected by the First Amendment. See, e.g., Signature

Management Team, LLC v. Automattic, Inc., 941 F. Supp. 2d 1145, 1152–53 (N.D. Cal. 2013);

In re Verizon Internet Services, Inc., 257 F. Supp. 2d 244, 263–64 (D.D.C. 2003), rev’d on other

grounds, Recording Industry Association of America, Inc. v. Verizon Internet Services, Inc., 351

F.3d 1229 (D.C. Cir. 2003). The fact that the DMCA allows a potential copyright infringement

victim to issue a subpoena to a service provider without first filing a lawsuit says nothing about

whether courts should consider the interests of anonymous speakers in the same way they would

in other situations.

                                                        B

        Bayside next argues that, to the extent MoneyBags has any First Amendment interest in

this case, it is wholly accounted for through copyright’s fair use analysis, which allows the

public to use copyrighted works in certain circumstances without facing liability. As Bayside

notes, while the First Amendment does not protect copyright infringement, “copyright law

contains built-in First Amendment accommodations.” Eldred v. Ashcroft, 537 U.S. 186, 219–20

(2003). This has led some courts to eschew interest balancing in cases seeking to deanonymize
alleged copyright infringers. See In re DMCA Subpoena to Reddit, Inc., 441 F. Supp. 3d 875, 882

(N.D. Cal. 2020) (noting that applying the two-step approach in the context of a copyright

dispute would be “problematic” because “[t]he doctrine of fair use provides everything needed to

balance the competing interests of the First Amendment and the copyright laws”). But while it

may be true that the fair use analysis wholly encompasses free expression concerns in some

cases, that is not true in all cases—and it is not true in a case like this. That is because it is

possible for a speaker’s interest in anonymity to extend beyond the alleged infringement.

        Consider a hypothetical not far afield from these facts. An anonymous blogger writes
hundreds of blog posts criticizing a powerful political figure, Mr. X. In one post, the blogger


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includes a copyrighted image owned by Mr. X. If Mr. X were to sue for copyright infringement,

the court would need to consider the interests on both sides—even if the blog post did not

constitute fair use. The blogger’s interest in anonymity (with respect to Mr. X) may be so great

as to outweigh Mr. X’s interest in enforcing his copyright.3

                                                     C

       Finally, Bayside argues that MoneyBags’s absence dooms Twitter’s motion. But although

MoneyBags’s presence would be helpful, it is not necessary. There are many reasons why an

anonymous speaker may fail to participate in litigation over their right to remain anonymous. In

some cases, it may be difficult (or impossible) to contact the speaker or confirm they received

notice of the dispute. Even where a speaker is alerted to the case, hiring a lawyer to move to

quash a subpoena or litigate a copyright claim can be very expensive. The speaker may opt to

stop speaking, rather than assert their right to do so anonymously. Indeed, there is some evidence

that this is what happened here: MoneyBags has not tweeted since Twitter was ordered to notify

him of this dispute.

       The Ninth Circuit has accordingly recognized that internet platforms can assert the First

Amendment rights of their users, based on the close relationship between the platform and its

users and the “genuine obstacles” users face in asserting their rights to anonymity. In re Grand

Jury Subpoena, No. 16-03-217, 875 F.3d 1179, 1183 n.2 (9th Cir. 2017). As a platform that
permits anonymous posting, Twitter risks losing users if people learn that the company discloses

users’ identities to anyone who asks. Moreover, Twitter’s interest in this dispute aligns with that

of MoneyBags; both have an interest in protecting MoneyBags’s ability to speak his mind on

Twitter without facing retaliation. Finally, there are genuine obstacles to MoneyBags’s

participation, given the expense of litigation and the lack of a contrasting economic incentive in

this suit. Cf. Powers v. Ohio, 499 U.S. 400, 415 (1991) (“[T]here exist considerable practical

3
 This concern still exists where the copyright owner and the subject of the anonymous speech
are different people, but it can sometimes be alleviated by a court order requiring that the
speaker’s identity remain anonymous on the docket and that the party serving the subpoena not
disclose the identity to any third party.


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barriers to suits by the excluded juror because of the small financial stake involved and the

economic burdens of litigation.”). To be sure, MoneyBags may be better equipped to articulate

his interest in maintaining anonymity in this context, but his failure to appear does not prevent

the Court from considering First Amendment interests when adjudicating the motion, as it would

do in a more typical case.

                                                      V

       As explained above, to defeat Twitter’s motion to quash, Bayside must first state a prima

facie case of copyright infringement. If it can do so, the Court must weigh the potential harm to

Bayside if the subpoena is not enforced against the potential harm to MoneyBags if his identity

were revealed to Bayside.

                                                      A

       Copying does not violate the copyright laws if it constitutes fair use. Although fair use is

colloquially called an “affirmative defense” to copyright liability, this is something of a

misnomer because “[f]air use is not just excused by the law, it is wholly authorized by the law.”

Lenz v. Universal Music Corp., 815 F.3d 1145, 1151–52 (9th Cir. 2016); see 17 U.S.C. § 107

(“[T]he fair use of a copyrighted work . . . is not an infringement of copyright.”). To make a

prima facie case of copyright infringement for the purposes of obtaining a subpoena, then, a

party must make a prima facie case that the infringing use did not constitute fair use. In some
cases, no analysis is required; it is obvious, for example, that downloading and distributing

copyrighted music via peer-to-peer systems does not constitute fair use. See Sony Music

Entertainment Inc. v. Does 1-40, 326 F. Supp. 2d 556, 565–66 (S.D.N.Y. 2004). But in other

cases, a mere description of the copying raises serious questions of fair use. See, e.g., In re

DMCA Subpoena to Reddit, Inc., 441 F. Supp. 3d 875, 884 (N.D. Cal. 2020). This may require

the copyright owner to offer evidence to make a prima facie case.

       The copyright statute lays out four non-exclusive factors for evaluating whether a use

constitutes non-infringing fair use. Courts are to consider:

               (1) the purpose and character of the use, including whether such use


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                   is of a commercial nature or is for nonprofit educational
                   purposes;
               (2) the nature of the copyrighted work;
               (3) the amount and substantiality of the portion used in relation to
                   the copyrighted work as a whole; and
               (4) the effect of the use upon the potential market for or value of the
                   copyrighted work.
17 U.S.C. § 107. The fair use analysis is fact intensive; courts are to “eschew ‘bright-line rules’

and ‘categories of presumptively fair use,’ and instead engage in a ‘case-by-case analysis.’” Dr.

Seuss Enterprises, L.P. v. ComicMix LLC, 983 F.3d 443, 451 (9th Cir. 2020) (quoting Campbell

v. Acuff-Rose Music, Inc., 510 U.S. 569, 577, 584 (1994)). All four factors are “to be explored,

and the results weighed together, in light of the purposes of copyright.” Campbell, 510 U.S. at

578.

       1. Begin with the “purpose and character of the use.” 17 U.S.C. § 107(1). In addition to

considering the purpose of the use (whether, for example, it “is for criticism, or comment, or

news reporting”), this factor asks whether the new work “adds something new, with a further

purpose or different character, altering the first with new expression, meaning, or message.”

Campbell, 510 U.S. at 578–79. Put another way, this factor asks “whether and to what extent the

new work is ‘transformative.’” Id. (quoting Pierre N. Leval, Toward a Fair Use Standard, 103

Harv. L. Rev. 1105, 1111 (1990)).

       The use here—tweets by an unverified Twitter account with a small following that only

garnered a handful of likes, retweets, or comments—is not commercial, a fact that “tips the
scales in favor of fair use.” Google LLC v. Oracle America, Inc., 141 S. Ct. 1183, 1204 (2021).

What’s more, the use is transformative. Considered on their own, the copyrighted photos may

have aesthetic value. But MoneyBags was not using the photos for their artistry. Rather, by

placing the pictures in the context of comments about Sheth, MoneyBags gave the photos a new

meaning—an expression of the author’s apparent distaste for the lifestyle and moral compass of

one-percenters. This transformation fits squarely within Section 107’s examples of fair use,

particularly “criticism” and “comment.” See Seltzer v. Green Day, Inc., 725 F.3d 1170, 1177 (9th
Cir. 2013) (“[A]n allegedly infringing work is typically viewed as transformative as long as new



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expressive content or message is apparent,” even where the work “makes few physical changes

to the original or fails to comment on the original.”); Katz v. Google Inc., 802 F.3d 1178, 1182–

83 (11th Cir. 2015).

       2. The second fair use factor—the nature of the copyrighted work—“recognizes that

creative works are ‘closer to the core of intended copyright protection’ than informational and

functional works.” Dr. Suess Enterprises, 983 F.3d at 455 (quoting Dr. Seuss Enterprises, L.P. v.

Penguin Books USA, Inc., 109 F.3d 1394, 1402 (9th Cir. 1997)). As a result, “fair use is more

difficult to establish when the former works are copied.” Id. (quoting Penguin Books, 109 F.3d at

1402). In evaluating this factor, courts also consider whether the copied work was previously

published. Id.

       Bayside states that its photos were “first published in 2017 and 2020.”4 The fact that the

photos were already published at the time of the copying weighs in favor of fair use. See Kelly v.

Arriba Soft Corp., 336 F.3d 811, 820 (9th Cir. 2003). Also weighing in favor of fair use is the

fact that many of the photos appear to be candid shots in a public setting—the type of picture one

would post to their Facebook or Instagram. See Katz, 802 F.3d at 1183.

       On the other hand, a couple of the photos are somewhat more artistic. One photo, for

example, depicts a woman standing in front of a mirror taking a selfie with her phone. The shot

is taken by a third party, rather than the woman herself, and the lighting, positioning, and
wardrobe appear to have been intentionally selected. Another photo is a self-portrait that,

charitably construed, may have involved creative positioning of the subject’s hair and

deliberately applied makeup. That said, Bayside has made no attempt to provide evidence that

the photographer “attempted to convey ideas, emotions, or in any way influence [the subject’s]

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  In what will emerge as a theme of this ruling, Bayside’s assertion is not without doubt: Bayside
notes the alleged publication dates in its opposition to Twitter’s motion to quash, without any
accompanying declaration. Normally the Court would decline to credit this unsupported
assertion, but because it is not outcome determinative, its truth will be assumed for purposes of
this motion (and this motion only). The Court interprets Bayside’s phrasing (noting that the
photographs were first published in 2017 and 2020) as implying that all the photos were
published before they were tweeted by MoneyBags. This is the first (of many) issues where
further evidentiary support from Bayside would have been helpful.


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pose, expression, or clothing.” Id. (Indeed, Bayside has not provided any information about the

photographs, including who the photographer is, where the photos were taken, or the identity of

the woman they feature.) At best, the second factor may tilt slightly in favor of Bayside due to

the artistic elements of these latter photographs, although the factor is largely inconclusive.

       3. The third factor considers the “amount and substantiality of the portion used in relation

to the copyrighted work as a whole.” 17 U.S.C. § 107(3). This factor is not particularly helpful in

the context of a photograph or drawing that “is not meaningfully divisible,” as the entire work

must be used to preserve any meaning at all. Seltzer, 725 F.3d at 1178; see also Katz, 802 F.3d at

1183–84. This factor is therefore neutral.

       4. The fourth and final factor asks what effect the use has “upon the potential market for

or value of the copyrighted work.” § 107(4). Analysis of this factor requires courts to consider

“not only the extent of the market harm caused by the particular actions of the alleged infringer,

but also whether unrestricted and widespread conduct of the sort engaged in by the defendant

would result in a substantially adverse impact on the potential market” for the original and

derivative works. Dr. Seuss Enterprises, 983 F.3d at 458 (internal quotations omitted) (quoting

Campbell, 510 U.S. at 590).

       When a use is transformative and non-commercial, it is difficult to infer market harm. In

such a case, “it is more likely that the new work will not affect the market for the original in a
way cognizable under this factor, that is, by acting as a substitute for it.” Campbell, 510 U.S. at

591. To make a prima facie case of copyright infringement in this context, Bayside must offer

some explanation for how its financial interests in the copyrights could be harmed by a use like

the tweets at issue here.

       Bayside offers that it is a “communications and strategic advisory firm” that “licenses

photographs for commercial exploitation.” But beyond this vague explanation of its business

model, Bayside nowhere explains what the potential market for these licenses is, let alone how

that market could be impacted by tweets like MoneyBags’s. Further, Bayside’s explanation of its
business is hard to accept at face value given the suspicious circumstances surrounding this


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motion (more on that later). And Bayside declined an opportunity (offered at the hearing) to

supplement the record with actual evidence of market harm. This factor therefore weighs in favor

of fair use.

                                                ***

        Taking into account all of these factors, Bayside has not established a prima facie case of

copyright infringement.

                                                  B

        Even if Bayside had made a prima facie showing of copyright infringement, the subpoena

would still need to be quashed because the balance of equities tilts in MoneyBags’s favor.

        Considering “the nature of the speech” at issue, there is no question that significant First

Amendment interests are at stake. In re Anonymous Online Speakers, 661 F.3d 1168, 1177 (9th

Cir. 2011). The six tweets flagged by Bayside are best interpreted as vaguely satirical

commentary criticizing the opulent lifestyle of wealthy investors generally (and Brian Sheth,

specifically). For example, one tweet reads: “Good morning from Mrs. Brian Sheth #2. Life is

good when you’re a 44-year old private equity billionaire.” The tweet accuses Brian Sheth of

having a mistress and links his infidelity to the broader class of “private equity billionaires,”

suggesting that wealth (or working in private equity) corrupts. Unmasking MoneyBags thus risks

exposing him to “economic or official retaliation” by Sheth or his associates. McIntyre v. Ohio
Elections Commission, 514 U.S. 334, 341–42 (1995). And MoneyBags’s interest in anonymity is

heightened further by his other tweets, which discuss issues of political importance such as

sexual harassment, tax enforcement, and corporate regulations.

        This is where the mystery surrounding Bayside makes a difference. If the Court were

assured that Bayside had no connection to Brian Sheth, a limited disclosure subject to a

protective order could perhaps be appropriate. But the circumstances of this subpoena are

suspicious. As far as the Court can tell, Bayside was not formed until the month that the tweets

about Sheth were posted on Twitter. It appears that Bayside had never registered any copyrights
until the registration of these six photographs, which happened after the tweets were posted. And


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there appears to be no information publicly available about Bayside’s principals, staff, physical

location, formation, or purposes.

        Rather than explaining these puzzling facts, Bayside’s counsel simply filed a declaration

stating that “Bayside is not and has not ever been owned or controlled by Brian Sheth.” The

declaration also notes that Brian Sheth does not own, and has not ever owned, “any interest in

the copyrights to the Photographs.”5 Even setting aside the fact that this declaration came from

counsel, rather than a party with personal knowledge of its veracity, it raises more questions than

it answers. Is Bayside owned or controlled by someone associated with Brian Sheth? Was

Bayside formed in response to these tweets? How did Bayside come to acquire these copyrights,

and from whom? When pressed at the hearing, Bayside’s counsel, Lawrence Hadley, would not

(or could not) expand on these vague assertions.

        Mr. Hadley: I can say that—that the subject of the tweets has no ownership interest in
        Bayside. This is all set forth in an affidavit.

        ...

        The Court: . . . [D]oes the subject of the tweets—Mr. Sheth, does he know anybody who
        is connected [to] Bayside?

        Mr. Hadley: I don’t know. I don’t know who the person is, and I don’t know who they
        know.

        The Court: Okay. Who—can you name a person who is connected to this company called
        Bayside? Can you name—can you give me some names of people who operate or work
        for Bayside?

        Mr. Hadley: My client contact is a person named Mr. Kaufman.
Dkt. No. 52 at 48.

        Of course, even a weighty First Amendment interest may give way in the face of a strong

interest on the other side. But here too, the Court is left scratching its head. It is not clear what

Bayside has to gain from pursuing a copyright action against MoneyBags. Injunctive relief is



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 Bayside makes these same claims about Robert Smith and Bob Brockman—two associates of
Brian Sheth who are also mentioned in some of MoneyBags’s tweets.


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unavailable, as Twitter has already taken the photos down. Because Bayside registered the

copyrights after the alleged infringement, it appears as though Bayside could recover only

limited damages that are unlikely to cover the considerable expense of pursuing its copyright

claims and no attorney fees. See 17 U.S.C. § 412. And as discussed in the preceding section,

Bayside has offered no information on the market harm it could conceivably have suffered as a

result of the postings. All Bayside has offered in support of its identity are a few vague

descriptions of its services—claiming it is a “communications and strategic advisory firm” that

“licenses photographs for commercial exploitation.” A visit to Bayside’s website (which the

Court conducted with Bayside’s counsel present during the hearing) revealed a shell of a site

with no information about Bayside, what it does, who owns the company, who works for the

company, or how any customer could license the photographs the company allegedly owns. See

Bayside Advisory LLC, https://baysideadvisory.com [https://perma.cc/26DU-3NNT] (captured

May 16, 2022).

       Given all the unknowns, at oral argument the Court offered Bayside an opportunity to

supplement the record with an evidentiary hearing or additional documentation. Bayside

declined, stating that it preferred the motion to be adjudicated on the current record. There would

perhaps be some benefit in insisting on an evidentiary hearing to explore the circumstances

behind this subpoena—to explore whether Bayside and its counsel are abusing the judicial
process in an effort to discover MoneyBags’s identity for reasons having nothing to do with

copyright law. Perhaps that hearing could even result in an award of attorney’s fees for Twitter.

But Twitter stated that it too prefers not to have an evidentiary hearing. Accordingly, the record

will stand, and the people connected to this mysterious company will succeed in preserving their

own anonymity. But Bayside’s choice not to supplement the record makes it quite easy to

balance MoneyBags’s interest in preserving his anonymity against Bayside’s alleged interest in

protecting its apparent copyrights. On this record, even if Bayside had made a prima facie

showing of copyright infringement, the Court would quash the subpoena in a heartbeat.
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       Twitter’s motion to quash is granted and Bayside’s motion to compel is denied.



       IT IS SO ORDERED.

Dated: June 21, 2022
                                           ______________________________________
                                           VINCE CHHABRIA
                                           United States District Judge




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